             Case 4:25-cv-03475-JSW      Document 42     Filed 05/09/25   Page 1 of 3




 1 PATRICK D. ROBBINS (CABN 152288)
   Acting United States Attorney
 2 PAMELA T. JOHANN (CABN 145558)
   Chief, Civil Division
 3 ELIZABETH D. KURLAN (CABN 255869)
   Assistant United States Attorney
 4
          450 Golden Gate Avenue, Box 36055
 5        San Francisco, California 94102-3495
          Telephone: (415) 436-7298
 6        Facsimile: (415) 436-6748
          elizabeth.kurlan@usdoj.gov
 7
   Attorneys for Defendant
 8
                                   UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                          OAKLAND DIVISION
11

12   SKY QUI,                                     )   Case No.: 4:25-cv-3475-JSW
                                                  )   ORDER GRANTING
13           Plaintiff,                           )   STIPULATION RE: RE-ACTIVATION OF
                                                  )   SEVIS RECORDS AND DISMISSAL;
14      v.                                        )   [PROPOSED] ORDER
                                                  )
15 TODD M. LYONS, in his official capacity as     )
   Acting Director of United States Immigration   )
16 and Customs Enforcement,                       )
                                                  )
17           Defendant.                           )
                                                  )
18

19

20

21

22

23

24

25

26
27

28

     STIPULATION RE RE-ACTIVATION OF SEVIS RECORDS AND DISMISSAL; [PROPOSED] ORDER
     4: 25-cv-3475-JSW
30
            Case 4:25-cv-03475-JSW           Document 42        Filed 05/09/25      Page 2 of 3




 1          Plaintiff and Defendant hereby stipulate to the following:

 2          1.      The Student and Exchange Visitor Information System (“SEVIS”) record for Plaintiff in

 3 this case has been set back to “active” by the Student and Exchange Visitor Program (“SEVP”) within

 4 Homeland Security Investigations (“HSI”) at U.S. Immigration and Customs Enforcement (“ICE”).

 5          2.      The reactivation of Plaintiff’s SEVIS record shall be considered retroactive to the date of

 6 its initial termination, such that there is no gap or lapse in the Plaintiff’s SEVIS record. Although the

 7 event history will memorialize whatever modifications are made to the SEVIS account, the effect of this

 8 retroactive activation is as though the termination did not happen.

 9          3.      To the extent Plaintiff is participating in Optional Practical Training (“OPT”), or Science,

10 Technology, Engineering and Math (“STEM”) OPT, or Curricular Practical Training (“CPT”), any

11 authorization end date for OPT, STEM OPT, or CPT has been reset to the end date set forth in the

12 Plaintiff’s SEVIS record before its termination.

13          4.      ICE will not, under its new SEVIS policy announced April 26, 2025, re-terminate the

14 Plaintiff’s SEVIS record based solely on the National Crime and Information Center (“NCIC”) record

15 that led to the initial termination or on any related prudential visa revocation that is effective upon

16 departure (as set forth in Paragraph 5). However, ICE maintains the authority to terminate a SEVIS

17 record for other reasons, such as if a student fails to maintain his or her nonimmigrant status after the

18 record is reactivated or engages in other unlawful activity that would render him or her removable from

19 the United States under the Immigration and Nationality Act (“INA”).

20          5.      As stated in ICE’s new policy, “if State revokes a nonimmigrant visa eﬀective

21 immediately, SEVP may terminate the nonimmigrant’s SEVIS record based on the visa revocation with

22 immediate eﬀect, as such a revocation can serve as a basis of removability under INA § 237(a)(1)(B).”

23 A visa revocation that is effective upon departure rather than immediately does not establish

24 removability under INA § 237(a)(1)(B), and therefore is not, in itself, a basis for termination of the

25 SEVIS record under the new SEVIS policy.

26          6.      Pursuant to INA § 221(i), notice of a visa revocation must be communicated to the

27 Department of Homeland Security. DHS has not received any communication from the Department of

28 State that the visa of the Plaintiffs in this action has been revoked with immediate effect.

     STIPULATION RE RE-ACTIVATION OF SEVIS RECORDS AND DISMISSAL; [PROPOSED] ORDER
     4:25-cv-3475 JSW                         1
30
            Case 4:25-cv-03475-JSW           Document 42         Filed 05/09/25     Page 3 of 3




 1          7.      The termination and reactivation of Plaintiff’s SEVIS record by SEVP, as set forth in

 2 Paragraph 1 of this Stipulation, will not, in itself, have a negative impact on the adjudication of any

 3 benefit request by United States Citizenship and Immigration Services (“USCIS”). If, while

 4 adjudicating an immigration benefit request, USCIS finds that an F-1 nonimmigrant’s SEVIS record was

 5 terminated and then reactivated by ICE, USCIS will continue processing the benefit request according to

 6 all applicable laws, regulations, policies, and procedures.

 7          8.      To the extent USCIS issues a request for evidence, notice of intent to deny, or denial

 8 based in whole or part on the termination and reactivation of Plaintiff’s SEVIS record, counsel for

 9 Defendant agrees to cooperate with Plaintiff’s counsel to ensure USCIS is aware of this Stipulation and

10 its terms in connection with its consideration or reconsideration of Plaintiff’s benefits request.

11          9.      Defendants shall communicate this Stipulation to the Department of State.

12 Plaintiff shall dismiss this action with prejudice. Each party shall bear its own fees and costs.

13 Dated: May 9, 2025                                     Respectfully submitted,

14                                                        PATRICK D. ROBBINS
                                                          Acting United States Attorney
15

16                                                        _s/ Elizabeth D Kurlan_______
                                                          ELIZABETH D. KURLAN
17                                                        Assistant United States Attorney

18                                                        Attorneys for Defendant

19
     Dated: May 9, 2025                                     s/ Brad Banias
20                                                        BRADLEY B. BANIAS
                                                          Banias Law
21
                                                          Attorney for Plaintiffs
22

23                                           [PROPOSED] ORDER

24          Pursuant to the parties’ stipulation, IT IS SO ORDERED. The Clerk shall close this file.

25 Date: May 9, 2025
                                                          ________________________________
26                                                        JEFFREY S. WHITE
                                                          United States District Judge
27

28

     STIPULATION RE RE-ACTIVATION OF SEVIS RECORDS AND DISMISSAL; [PROPOSED] ORDER
     4:25-cv-3475 JSW                         2
30
